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 4   Attorney for Defendant
     Anjenette Brown
 5

 6                         UNITED STATES DISTRICT COURT

 7                       EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA          )         No. Cr.S-10-211 KJN
                                       )
10                   Plaintiff         )         AMENDED
                                       )         STIPULATION AND PROPOSED ORDER
                v.                     )         EXTENDING SELF-SURRENDER DATE
11                                     )         TO MARCH 18, 2013
     ANJENETTE BROWN,                  )
12                                     )
                     Defendant         )
13                                     )

14
          Following the granting of the government’s appeal, and the
15
     reinstatement of her original sentence to two months prison by
16
     the district court on January 25, 2013, this defendant noticed
17

18   her appeal to the Ninth Circuit Court of Appeals. That matter is

19   pending.

20        Ms. Brown has also filed a motion for bail pending appeal

21   in this Court to be heard on February 27, 2013 at 10:00 AM.

22   However, Ms. Brown’s current self-surrender date to the United
23   States Marshall is February 25, 2013.
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                           For the reasons stated above, it is hereby stipulated and
 1
     agreed between the parties, defendant thorough his counsel,
 2
     Michael B. Bigelow and the United States through its counsel,
 3

 4   that defendant’s self-surrender date be extended to March 18,

 5   2013.

 6

 7   Respectfully submitted,

 8

 9   DATED: February 20, 2013                                  /S/ MICHAEL B. BIGELOW
                                                               Michael B. Bigelow
10                                                             Attorney for Defendant
11

12

13   Dated: February 20, 2013                                  /S/ Jared Dolan
                                                               JARED DOLAN
14                                                             Attorney for Plaintiff

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18   IT IS SO ORDERED
19
     Date:                   2/20/2013
20
                                                        __________________________________
21                                                      KENDALL J. NEWMAN
                                                        UNITED STATES MAGISTRATE JUDGE
22   DEAC_Signature-END:




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     ad4mc0d
24

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